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                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                           MIDDLE DIVISION

ASHLEY CASWELL,                        )
                                       )
      Plaintiff,                       )
                                       )
v.                                     ) Civil Action No. 4:23-cv-1380-ACA
                                       )
SHERIFF JONATHON                       )
HORTON, et al.,                        )
                                       )
      Defendants.                      )


                         INITIAL ORDER
               GOVERNING ALL FURTHER PROCEEDINGS

      This order governs all proceedings in this action, unless modified by written

order for good cause shown.

      Judge Axon’s staff will not answer questions from attorneys or unrepresented

parties over the telephone. Therefore, each attorney or unrepresented party appearing

in this case and practicing in this court should carefully review this order and the

court’s local rules available at www.alnd.uscourts.gov. If an attorney or an

unrepresented party has a question that cannot be answered by reference to this order

or the local rules, the attorney or unrepresented party must email chambers

(axon_chambers@alnd.uscourts.gov) with a copy to all opposing counsel or, if a
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party is unrepresented, the unrepresented party. The court will not respond to ex

parte communication from any attorney or unrepresented party.

I. GENERAL PROVISIONS

      A.     Communication With Chambers

      Any     and    all   questions    should    be   sent    to   axon_chambers@

alnd.uscourts.gov, with a copy to all opposing counsel or, if a party is unrepresented,

the unrepresented party. Emails that do not include all counsel of record, or if a

party is unrepresented, the unrepresented party, will not receive a response.

      If an unrepresented party does not have an e-mail address, the parties may file

a motion for a telephone conference.

      B.     HIPAA Compliance

      In accordance with the requirements of the Health Insurance Portability and

Accountability Act of 1996 (“HIPAA”), Pub. L. No. 104-191, 110 Stat. 1936 (1996),

and its regulations, when “protected health information” is relevant to the claims or

defenses presented in an action, the party seeking such “protected health

information” shall present a valid authorization at the Rule 26 planning meeting to

be executed by the party from whom such “protected health information” is sought.

The parties shall include in their report a deadline (specific date) by which the

authorization will be executed. The parties may file with the court a motion for a

“qualified protective order,” to which all parties stipulate, and, at the same time, e-


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mail to axon_chambers@alnd.uscourts.gov a proposed “qualified protective order,”

in substantially the form attached to this order as Appendix I.

      C.     Dismissal of Non-Served Defendants

      Any defendant who has not been served with a summons and complaint within

90 days after the filing of the complaint (or within 90 days after the party was added

to the action) may be dismissed without further order of the court unless the party

on whose behalf such service is required shows good cause why service has not been

perfected.

      D.     Suitability of Action for Alternative Dispute Resolution

      All parties should give early consideration to the possibility of settlement to

avoid unnecessary costs and fees. The court requires that the attorneys for all parties

make an early analysis of the case along with their clients and be prepared to discuss

settlement at an early date. The parties shall also consider and discuss whether this

action may be suitable for mediation, whether under the court’s ADR plan or

otherwise. In the absence of an objection by any of the parties, the court will order

this case to mediation before the submission of dispositive motions.

      Each attorney is directed to immediately forward a copy of the initial order to

his or her client. Plaintiff(s)’ attorney(s) are ordered to immediately discuss the

feasibility of settlement with Defendant(s)’ attorney(s).




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       E.      Courtesy Copies

       For all submissions exceeding thirty (30) pages (including exhibits), the filing

party must submit, within three (3) business days of filing, an exact courtesy copy

of the submission, reflecting the CM/ECF case number, document number, date, and

page stamp on each page, to the Clerk’s office for delivery to chambers. Deliveries

are not accepted in the court’s chambers. COURTESY COPIES SHOULD BE

DOUBLE-SIDED TO CONSERVE PAPER AND SECURELY BOUND IN A

THREE-RING BINDER OR BY LARGE CLIP.

       The parties must also email a copy of any brief filed with the court to

chambers in Microsoft Word format.

II.    Electronic Submissions

       A.      CM/ECF Record

       The official record of this case is maintained electronically pursuant to

CM/ECF. Documents must be filed through CM/ECF in PDF (Portable Document

Format) in searchable format, unless submitted by a party appearing pro se, in which

case documents should be filed with the Clerk of Court. All filings must comply with

the Court’s Civil Administrative Procedures Manual found on the court’s website.1



       1
          The Administrative Procedures Manual is available on the court’s website by clicking the
“Policies      and    Procedures”       link     under     the      “For     Attorneys”       tab.
(https://www.alnd.uscourts.gov/sites/alnd/files/AL-N%20Civil%20Administrative%20Procedure
s%20Manual.Revision.05-18-2021.pdf)


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      B.     Type Size

      The court requires all documents created by counsel for submission to the

court to be in 14 point type, except that footnotes may be in 12 point type.

      C.     Sealed and/or Redacted Protected Information

      The Civil Administrative Procedures Manual for CM/ECF, located on the

main page of CM/ECF generally outlines the requirements and procedures with

respect to redaction and sealing. All parties should confirm compliance with those

provisions in advance of any filing. The failure to properly redact information may

result in sanctions.

      Parties must seek the court’s permission to file any documents under seal by

following the procedure outlined in the Civil Administrative Procedures Manual for

CM/ECF, even when filing information designated as confidential pursuant to a

confidentiality protective order. In the Eleventh Circuit, there is a presumptive

constitutional public right of access to judicial records. Comm’r, Ala. Dep’t of Corr.

v. Advance Loc. Media, LLC, 918 F.3d 1161, 1166 (11th Cir. 2019); Chicago

Tribune Co. v. Bridgestone/Firestone, Inc., 263 F.3d 1304, 1310 (11th Cir. 2001).

The parties cannot overcome this presumption, which protects a right held by the

public, by agreeing in a protective order that documents may be filed under seal. See,

e.g., Advance Loc. Media, LLC, 918 F.3d at 1166. To overcome the public’s

constitutional right of access, the party moving to seal must establish that good cause


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warrants filing the judicial records under seal. See id. at 1169; Callahan v. United

Network for Organ Sharing, 17 F.4th 1356, 1363 (11th Cir. 2021). All parties should

note that the designation of a document as confidential does not, standing alone,

sustain the burden of establishing good cause. Motions to seal that fail to show good

cause will be denied. See, e.g., Chicago Tribune, 263 F.3d at 1310.

      D.     Required Electronic Submissions to Chambers

      Counsel must email to chambers copies of all proposed orders in Word Format

with opposing counsel or pro se parties copied. The address for the undersigned

judge’s chambers is axon_chambers@alnd.uscourts.gov.

III. MOTION PRACTICE

      A.     Dispositive Motions

      Any motion(s) for summary judgment filed in this action must comply with

all requirements of Appendix II to this order. Any other dispositive motion must

comply with the requirements of Appendix II to the extent practicable.

      B.     Other Motions

      All motions longer than ten pages in length must comply with the

requirements in Appendix II to this order to the extent practicable. Before filing any

motion (other than a motion to remand), moving counsel shall contact the opposing

counsel and determine if counsel opposes the motion. All motions shall include, in



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the caption under the case number, a notation that the motion is either “Opposed” or

“Unopposed.” The first paragraph shall briefly summarize the parties’ attempts to

resolve the issue(s) and set forth areas of agreement and disagreement. Failure of the

parties to abide by these requirements can result in a sua sponte denial of the motions

for failure to comply.

      Parties must seek leave of the court before filing a motion about a discovery

dispute. The motion for leave of the court must specify the nature of the discovery

dispute and the steps the parties have taken to resolve that dispute. The motion need

only include the facts relevant to the dispute. Legal argument and/or legal citations

are not necessary. Opposing counsel MUST file a response to the motion for leave

within three days of its filing, explaining why the court should not grant leave to file

the discovery motion. If the court grants leave to file, the parties will receive an

opportunity to make substantive arguments at that time.

      C.     Motion of Counsel to Withdraw

      Once an attorney has appeared as counsel for a party, he or she may not

withdraw from the action merely by filing a “notice of withdrawal,” but must file a

motion stating the specific grounds for withdrawal and seeking permission of the

court to do so. Any motion to withdraw which, if granted, would leave a party

unrepresented by counsel must include a certification that the moving attorney has

served a copy of the motion on his or her client and has informed the client of the


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right to promptly file an objection with the court. The motion must also include the

notation, “Future notice to (name of party) is to be made at the following address:

(state last known address of the party).”

      D.     Motions for Extensions of Time

      Any motion that seeks an extension of the discovery deadline by more than

thirty days must provide: (1) a description of all discovery conducted up to the point

of filing the motion for an extension and the dates said discovery was served and

answered; (2) what depositions the parties have taken up to the point of filing the

motion; and (3) a discovery plan setting the date on which each outstanding

discovery issue will be resolved. Successive motions for extensions of time are

strongly disfavored.

III. SPECIFIC PROVISIONS RELATING TO CERTAIN CASES

      A. ATTORNEY FEE SHIFTING CASES

      If a party anticipates that during or upon the completion of this action it may

for any reason (other than as a sanction under the Federal Rules of Civil Procedure)

seek an award of attorneys’ fees from the opposing party pursuant to any statute or

other law, the party must comply with the following requirements as a precondition

to any such award:




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(a)   Counsel must maintain a separate record of time with a complete and

accurate accounting of all time devoted to this particular action (to the nearest

1/10 of an hour), recorded contemporaneously with the time expended, for

each attorney and with sufficient detail to disclose the nature of the work

performed in the action (i.e., not just “research” but the specific matter being

researched; not just “conference” but the identity of persons conferring and

general subject matter of the conference).

(b)   If a claim will be made for services performed by any person not a

member of the bar, a separate time record shall be maintained for each such

individual in accordance with (a) above.

(c)   Counsel is directed to review and verify all attorney and non-

attorney time records no less than once per month.

(d)   Although the court does not require counsel to file a copy of the time

records before a request for a fee, counsel may file with the Clerk of Court

either a copy of the time record referenced in (a) above, or a separately

prepared document setting forth the information described in (a) above. If

counsel elects to file reports, they should be filed by the 15th day of the month

following the month in which the work was performed during the pendency

of the case. If counsel elects to file time reports, the material filed may be filed

under seal, subject to further court order, by placing the same in a sealed



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      envelope with the case name and number along with “ATTORNEY TIME

      RECORDS - FILE UNDER SEAL” written thereon. However, if the material

      is filed under seal, then the filing party must, at the time of such filing, also

      file (and serve a copy on opposing parties or their counsel) a document stating

      the total of the hours represented by the sealed filing, allocated as to total

      attorney hours and total non-attorney hours included in the current filing under

      seal. Upon the conclusion of this case, without further order the seal will be

      lifted as to all attorney fee materials filed under seal.

      (e)    A petition for attorney fees shall be accompanied by counsel’s

      certification that all time records are accurate; that such records were prepared

      contemporaneously with the performance of the work for which the fees are

      claimed; and that counsel reviewed and verified all attorney and non-attorney

      time records no less frequently than once per month.

      B.      CASES THAT REQUIRE EEOC CHARGES

      If this case is one in which the filing of a charge of discrimination with the

Equal Employment Opportunity Commission or similar agency is required as a

prerequisite to suit, then the plaintiff(s) must file with the Clerk of Court at the time

of filing the disclosures required by Federal Rule of Civil Procedure 26(a)(1): (a) a

copy of all charges of discrimination filed with the EEOC and which form the bases




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of the action; and (b) a copy of the EEOC’s response to all such charges of

discrimination filed with that agency, including the notice of right to sue.



                    DONE and ORDERED this January 25, 2024.



                                     _________________________________
                                     ANNEMARIE CARNEY AXON
                                     UNITED STATES DISTRICT JUDGE




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                                   APPENDIX I

                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ALABAMA
                              ________ DIVISION

AAA,                                           )
                                               )
       Plaintiff(s),                           )
                                               )
v.                                             )        Civil Action No. ___
                                               )
BBB,                                           )
                                               )
       Defendant(s).                           )


                       QUALIFIED HIPAA PROTECTIVE ORDER

       The court GRANTS the parties the right, upon compliance with the applicable

discovery provisions of the Federal Rules of Civil Procedure and the orders of this

court, to obtain from any health care provider, health plan, or other entity covered

by the Health Insurance Portability and Accountability Act of 1996 (“HIPAA”), Pub.

L. No. 104-191, 110 Stat. 1936 (1996), any and all information relating to the past,

present, or future medical condition of any individual who is a party to this action

(or the decedent or ward of a party who sues in a representative capacity), as well as

any and all information relating to the provision of health care to such individual and

payment for the provision of such health care.




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      This order authorizes any third-party who is provided with a subpoena

requesting the production of documents or commanding attendance at deposition or

trial to disclose the protected health information in response to such request or

subpoena. This order is intended to authorize such disclosures under the privacy

regulations issued pursuant to HIPAA. 45 C.F.R. § 164.512(e)(1)(i).

      The court expressly prohibits the parties from using or disclosing the protected

health information obtained pursuant to this order for any purpose other than this

action. Further, the court orders the parties either to return to the covered entity from

whom or which such protected health information was obtained, or to destroy the

protected health information (including all copies made), immediately upon

conclusion of this action. See 45 C. F. R. §§ 163.502(b); 164.512(e)(1)(v).

      DONE and ORDERED this ________ day of ________________, ______.



                                                _______________________
                                                Annemarie Carney Axon
                                                United States District Judge




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                                   APPENDIX II

                 SUMMARY JUDGMENT REQUIREMENTS

                                      NOTICE

This exhibit contains specific, mandatory instructions regarding the preparation and

submission of briefs and evidentiary materials in support of and in opposition to

potentially dispositive motions. These instructions must be followed strictly. Except

for good cause shown, briefs and evidentiary materials that do not conform to the

following requirements may be stricken.


SUBMISSION DATES

      The court’s scheduling order will provide a deadline for filing summary

judgment motions. Any motion for summary judgment and evidentiary materials

will be due on or before that deadline. A supporting brief will be due within one

business day of the motion and evidentiary materials being filed. The court will

enter a briefing schedule upon receipt of the brief in support of the motion for

summary judgment.

      To ensure that each party is afforded a full and fair opportunity to be heard,

the parties must deliver copies of briefs and evidentiary materials to opposing parties

without undue delay and, generally, on the same date the party submits the brief.
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SUBMISSIONS

      The parties’ submissions in support of and opposition to summary judgment

motions must consist of: (1) a brief containing, in separately identified sections, (i) a

statement of allegedly undisputed relevant material facts and (ii) a discussion of

relevant legal authorities; and (2) copies of any evidentiary materials upon which the

party relies. More detailed requirements for these submissions are explained in the

following sections.

REQUIREMENTS FOR BRIEFS

      A.     Format

      Initial and response briefs are limited to thirty-five pages. Reply briefs are

limited to ten pages. Briefs that exceed twenty pages must include a table of contents

that accurately reflects the organization of the document. The table of contents is not

included in the page limit. The text of briefs must be double-spaced (except for

quotations exceeding fifty words, which may be block indented from the left and

right margins and single spaced) using fourteen point typeface, preferably Times

New Roman.

      The court will not consider arguments incorporated by reference to earlier

filings and will not consider substantive arguments made in footnotes. The court

may strike any brief that would exceed the page limits because of attempts to

incorporate by reference or include substantive arguments in footnotes.



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       B.     Submissions

       The parties must electronically file the original brief. The parties also shall e-

mail to the court’s chambers (axon_chambers@alnd.uscourts.gov) the brief in Word

format. The email must copy opposing counsel, or if a party is unrepresented, the

unrepresented party.

       For requirements about the submission of courtesy copies of evidentiary

materials, see Part III.D. of the initial order.

       C.     Binding

       The Clerk will not accept bound materials for filing, but the parties must

securely bind the court’s “courtesy copy” of the brief in a three-ring binder or large

clip for ease of use and to prevent inadvertent loss of pages. In addition, all pages

submitted in the court’s “courtesy copy” shall be three-hole punched.

       D.     Manner of Stating Facts

       All briefs submitted either in support of or opposition to a motion must begin

with a statement of allegedly undisputed relevant material facts set out in separately

numbered paragraphs. Counsel must state facts in clear, unambiguous, simple,

declarative sentences. Each statement of fact must be supported by specific reference

to the CM/ECF document and page number of the evidentiary submissions.




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             1.    Moving Party’s Initial Statement of Facts

      The moving party shall list in separately numbered paragraphs each material

fact the movant contends is true and not in genuine dispute, and upon which the

moving party relies to demonstrate that it is entitled to summary judgment. Each

statement of fact must be followed by a specific reference to those portions of the

evidentiary record that the movant claims supports it.

             2.    Opposing Party’s Statement of Facts

      Each party opposing a summary judgment motion also must submit a

statement of facts divided as follows.

                   a.     Response to Movant’s Statement of Facts

      The first section must consist of only the non-moving party’s disputes, if any,

with the moving party’s claimed undisputed facts. The non-moving party’s response

to the moving party’s claimed undisputed facts shall be in separately numbered

paragraphs that coincide with those of the moving party’s claimed undisputed facts.

Any statements of fact that are disputed by the non-moving party must be followed

by a specific reference to those portions of the evidentiary record upon which the

dispute is based. All material facts set forth in the statement required of the moving

party will be deemed to be admitted for summary judgment purposes unless

controverted by the response of the party opposing summary judgment.




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                    b.    Additional Undisputed Facts

      The second section may contain additional, allegedly undisputed facts set out

in separately numbered paragraphs that the opposing party contends require the

denial of summary judgment. The second section of the opposing party’s statement

of facts, if any, shall be clearly designated as such. Each statement of fact in this

section shall be supported by its own evidentiary citation. The opposing party should

include only facts that the opposing party contends are true and not in genuine

dispute.

                    c.    Additional Disputed Facts

      The third section may contain additional, allegedly disputed facts set out in

separately numbered paragraphs that the opposing party contends require the denial

of summary judgment. The third section of the opposing party’s statement of facts,

if any, shall be clearly designated as such. Each statement of allegedly disputed facts

must be followed by specific reference to those portions of the evidentiary record

which both support and contradict the alleged fact.

             3.     Moving Party’s Reply

      The reply submission, if any, must include the moving party’s disputes, if any,

with the non-moving party’s additional claimed undisputed facts. The moving

party’s response to the non-moving party’s additional claimed undisputed facts shall

be in separately numbered paragraphs that coincide with those of the non-moving



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party’s additional claimed undisputed facts. Any statements of fact that are disputed

by the moving party must be followed by a specific reference to those portions of

the evidentiary record upon which the disputation is based. All additional material

facts set forth in the statement required of the opposing parties will be deemed to be

admitted for summary judgment purposes unless controverted by the statement of

the movant.

REQUIREMENTS FOR EVIDENTIARY MATERIALS

      To facilitate the court’s requirement that the parties cite to the CM/ECF

document and page numbers, the parties must electronically file all evidentiary

materials (e.g., affidavits, exhibits, depositions, or other products of discovery)

relied upon in support of or opposition to summary judgment motions before they

file their briefs in support of or opposition to summary judgment. The parties may

file their briefs, with citations to the CM/ECF document and page numbers, one

business day after making their evidentiary submissions.

      Any party opposing a summary judgment motion may reference materials

included in the moving party’s initial evidentiary submission without resubmitting

that evidentiary submission. Parties should refrain from re-submitting additional

copies of the same documents.

      While the court reserves the right to consider evidentiary materials that are

not specifically referenced in the brief, no party should assume the court will



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consider such materials. A specific reference must include the CM/ECF document,

page, and, when appropriate, line number.

      A.     Organization

             Each volume of evidentiary materials must include a table of contents

that includes a brief narrative description of each document included: e.g.,

“Plaintiff’s Exhibit 1, the Deposition of John Jones.” Each affidavit, exhibit,

deposition, or other product of discovery must be separately identified by a capital

letter or numeral (i.e., “Exhibit A” or “Exhibit 1”); and, if the exhibit contains more

than one page, each page must be separately numbered. Deposition travel transcripts

that are submitted as part of the evidentiary record should include no more than four

pages of deposition text per 8½” by 11” page.

      Counsel are directed to submit entire depositions, including all exhibits

to the depositions, even if relying only on excerpts. However, if the deposition or

exhibits to the deposition contain information designated as confidential under a

protective order and the parties agree that the confidential information is not

necessary to the court’s determination of the summary judgment motion, the parties

may seek to be relieved of the obligation to submit the full deposition with all

exhibits. If a party seeks to be relieved of this obligation, the party should move for

that relief at least one calendar week before the due date for the summary judgment




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motion. The motion should specify whether the party will redact parts of the

deposition or will omit or redact exhibits.

      B.     Number of Sets Submitted

      The parties must electronically file one set of evidentiary materials. The

parties must submit a “courtesy copy” to the Clerk of Court for delivery to the court’s

chambers by the Clerk, an exact copy of the filed set of evidentiary materials,

reflecting the CM/ECF case number, document number, date, and page stamp on

each page, within three business days of electronic filing. Additionally, the

evidentiary material should include a tab corresponding to each document.

Regarding courtesy copies of depositions, parties shall include the entire deposition,

in travel transcript format consisting of no more than four pages of deposition text

per 8 ½ by 11 inch page, as well all exhibits to the depositions with sub-tabs, clearly

labeled.

      C.     Binding

      The Clerk will not accept bound materials for filing, but the parties must

securely bind the court’s “courtesy copy” of the evidentiary submission—in

separately numbered volumes, if necessary—for ease of use and to prevent

inadvertent loss of pages.




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